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ADMIRALTY
AND
MARITIME LAW

Fourth Edition

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Volume 2

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PRACTITIONER TREATISE SERIES”

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§ 19-12 PROTECTION AND INDEMNITY INSURANCE 287

In 1983, new cargo insurance clauses were developed by the Insti-
tute of London Underwriters in place of the old Lloyd’s S.G. (ship and
goods) Policy. These clauses were introduced to meet criticism of the
quaint and archaic language and risk allocation of the S.G. Policy which
had remained relatively unchanged since its adoption in 1779. The
revised clauses included Institute Cargo Clauses (A), (B), and (C),
Institute War Clauses (Cargo),‘ Institute Strikes Clauses (Cargo), and
the Malicious Damage Clause. Institute Cargo Clauses (A) covers “all
risks” except for named exclusions. Institute Cargo Clauses (B) is more
limited and covers certain named risks, while Institute Cargo Clauses (C)
covers only major casualties. These new policy forms present several
new questions of interpretation that must be resolved in future contro-
versies.®

§ 19-12. Protection and Indemnity Insurance

Protection and Indemnity (P & I) insurance came into common use
after the 1835 case of De Vaux v. Salvador! established that collision
liability was not a “peril of the sea’ and thus was not covered under the
basic Lloyd’s S.G. policy.?_ Lloyd’s underwriters soon developed a stan-

siderably, with resulting variance in
rates, depending on the degree of protec-
tion provided.

7) Shipping practices. Newcomers
to foreign trade may not have experi-
enced traffic personnel. Even experi-
enced shippers vary greatly in their
shipping practices.

8) The Consignee. The character
and business methods of the consignee
may greatly affect the extent of damage
payments. He can substantially reduce
claims by making repairs and by
promptly taking delivery. On the other
hand, irresponsible behavior of the con-
signee can materially increase losses.

9) Salvage. The proceeds of salvage
operations reduce the net amount of
loss. Salvage possibilities vary with the
goods themselves, locality and economic
conditions.

10) Underwriting experience. The
underwriter’s experience with the As-
sured is a valuable guide in determining
whether the rate is adequate or exces-
sive, but it is not the sole determinant.
An adverse loss ratio indicates the need
for careful reconsideration of risk fac-
tors; it does not necessarily indicate
that the rate should be revised. Rates
are made for the future. An underwrit-
er considers which losses can reasonably
be expected to recur.

Id. at 14-15.

Insurers bear the burden of proving the
applicability of policy exclusions, while the

insured has the burden of proving that the
loss occurred within the policy periods.
New Hampshire Ins. Co. v. Martech, USA,
Inc., 993 F.2d 1195, 1993 AMC 2426 (5th
Cir. 1993).

4. Under English law, a war risk exclu-
sion did not exclude coverage for a custom
seizure of cargo for re-labeling. North
Branch Resources, LLC v. M/V MSC Cali,
132 F.Supp.2d 293, 2001 AMC 1465
(S.D.N.Y.2001), judgment vacated in part
on reconsideration 154 F.Supp.2d 793
(S.D.N.Y.2001).

5. The consequences of discarding the
old language and of adopting the new claus-
es cannot be precisely predicted. The old
jurisprudence will provide the point of de-
parture for analysis. See Mankabady, The
New Lloyd’s Policy and Cargo Clauses, 13
J.Mar.L. & Com. 527 (1982); O’May, The
New Marine Policy and Institute Clauses,
{1985] 1 L.M.C.L.Q. 191; Diamond, The
Law of Marine Insurance—Has It a Future?
{1986} 1 L.M.C.L.Q. 25.

§ 19-12
1. 111 Eng.Rep. 845 (K.B.1836).

2. Protection and Indemnity clubs
have been described as ‘‘the Cinderella(s] of
marine insurance.’’ This reference is in
regard to the relatively recent development
of protection and indemnity insurance as
compared to hull insurance and cargo in-
surance. Wilding, The Protection and In-
demnity Clubs, 1961 J. of the Institute of

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dard Collision Liability or ‘Running Down Clause’? to be added to
existing hull insurance policies to cover three-quarters of this risk in
return for an additional premium.? Protection and Indemnity (P & I
“clubs’”’—mutual insurance societies—were founded to cover the remain-
ing one-quarter, and they gradually broadened their coverage to include
other third-party risks and risks not covered by hull policies.‘

Protection and Indemnity insurance today covers virtually all the
risks not covered by hull insurance. As the practical and statutory
liabilities of shipowners increased, so did the coverage provided by
Protection and Indemnity Clubs... Shipowners look to Protection and
Indemnity Clubs for insurance against their liabilities including claims
for damage or compensation in respect of the following categories of loss:

1) personal injury to or illness or loss of life of crew members;

2) personal injury to or loss of life of stevedores;

Transport 113 (discussing the historical
background and formation of this insurance
and its underwriters’ association). See also
Tilley, The Origin and Development of the
Mutual Shipowners’ Protection & Indemni-
ty Association, 17 J.Mar.L. & Com. 261
(1986).

The P & I Clubs provide indemnity, not
liability coverage. They are only obliged to
indemnify their members or policy holders
for judgments, settlements, or claims which
have actually been paid. There is also no
duty to defend. Firma C-Trade SA v. New-
castle Protection & Indemnity Assn., 2 All.
E.R. 705, [1990] 2 Lloyd’s Rep. 191; Ahmed
v. American 8.S. Mut. Protection & Indem.
Assn., 640 F.2d 993, 1981 AMC 897 (9th
Cir.1981), appeal after remand 701 F.2d
824, 1983 AMC 2712 (9th Cir.1983), af-
firmed 701 F.2d 824, 1983 AMC 2712
(1983). But see Orion Ins. Co. v. Firemen’s
Ins. Co., 46 Cal.App.3d 374, 120 Cal.Rptr.
222, 1975 AMC 1183 (1975).

Travelers Indemnity Co. v. Calvert Fire
Insurance Co., 798 F.2d 826 (5th Cir.1986),
on rehearing in part 836 F.2d 850 (5th
Cir.1988) is noover the P & I carrier, the
London Steamship Owners’ Mutual Insur-
ance Assotable for the court’s discussion of
the lack of personal jurisdiction ciation,
Ltd., as well as the fact that the court
undertook to reform a bond posted as secu-
rity to insure the payment of damages aris-
ing from a collision in international waters.

3. Most hull underwriters refused to
cover more than three-quarters liability for
fear that full coverage would not discourage
ships’ masters from being negligent.

4. For comprehensive Annotations to
the SP-23 policy form analyzing the U.S.
Jurisprudence, see The MLA Report (Ma-
rine Protection and Indemnity Policy and

Annotation Project), Doc. No. 761, October
19, 2001. There is a helpful symposium on
Protection and Indemnity insurance in 43
Tul.L.Rev. 457 et seq. (1969). Information
on the practical aspects of this form of
insurance can be found in Bernard, Protec-
tion and Indemnity Insurance (2nd ed.
1950) and Libby, Some Aspects of Protec-
tion and Indemnity Insurance, 1952 Ins.L.J.
684, Norman J. Ronneberg, Jr., An Intro-
duction to the Protection & Indemnity
Clubs and the Marine Insurance They Pro-
vide, 3 U.S.F.Mar.L.J. 1 (1991).

Both the American and English versions
of the Collision Liability on ‘Running
Down Clause” now cover fully any damages
to another vessel arising out of a collision.
See Bender Shipbuilding & Repair Co. v.
Brasileiro, 874 F.2d 1551, 1991 AMC 220
(11th Cir.1989).

For a comprehensive review of P & I
insurance coverage of oil pollution, see R.C.
Springall, P & I Insurance and Oil Pollu-
tion, 6 J. of Energy and Natural Res.L. 25
(1988).

5. For instance, under the ‘‘compulso-
ry by law” provision in a protection and
indemnity policy, indemnity coverage varies
according to the requirements of particular
laws. See East Coast Tender Service, Inc.
v. Robert T. Winzinger, Inc., 759 F.2d 280,
1986 AMC 114 (3d Cir.1985) (phrase ‘‘com-
pulsory by law” insuring against lability
for removal of wreck of a vessel is not
restricted to situations in which an express
order from a governmental body directs re-
moval); see also Continental Oil Co. v. Bo-
nanza Corp., 706 F.2d 1365, 1983 AMC
2059 (5th Cir.1983); Accord: Zurich Ins.
Co. v. Pateman, 692 F.Supp. 371, 1988
AMC 2813 (D.N.J.1987).

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3) personal injury to or illness or loss of life of passengers and
others;

4) loss of personal effects;

5) diversion expenses;

6) life salvage;

7) collision liabilities (typically those risks excluded from the
Running Down Clause of Hull Insurance);

8) loss or damage to property other than cargo;

9) pollution;

10) towage contract liabilities;

11) liabilities under contracts and indemnities;

12) wreck liabilities;

13) cargo liabilities;

14) cargo’s proportion of general average or salvage not other-
wise collectible;

15) certain expenses of salvors;

16) fines;

17) legal costs; and

18) omnibus coverage for new risks which arise suddenly or
exceptional cases not within the express provisions currently in use.®

The ‘‘omnibus rule,’’ noted above, gives wide discretion to authorize
payment of claims that the P & I Club feels are within the scope of the
association.” This rule is frequently used and constitutes one of the
major advantages of this form of mutual insurance over that obtainable
on the markets. Another advantage is that, in many cases, P & I Clubs
insure their members’ liabilities with very high limits on the amount of
coverage.®

There are approximately twenty-five P & I Clubs in the world with
the great majority located in the United Kingdom.? Mutual Clubs
organized along the general lines of P & I Clubs also exist for several
classes of special coverage, such as freight, demurrage, and defense (F.D.
and D.). These F.D. and D. Clubs cover claims and liabilities arising
from (a) freight—the amount of money paid for the carriage of goods;
(b) demurrage—a penalty payable to the shipowner in carriage contracts

6. Coughlin, Protection & Indemnity arrest proceedings. If the circumstances

Clubs, 1984 Lioyd’s Mar. & Com.L.Q. 403,
405-11. See generally Marine P & I Policy
Annotations, Annotations of the American
Steamship Owners’ Mutua! Protection and
Indemnity Association Form Policy (1982)
and First Addenda to Marine P & I Policy
Annotations (1985).
7. Coughlin at 411.

8. Protection and Indemnity Clubs
may also provide guarantees or bonds for
the shipowner in certain situations such as

resulting in the arrest was a covered risk,
then the club may place the bond at its own
expense. If not, the club may still place the
bond, but will require counter-security from
the shipowner. See Wilding, supra at 118~-
19 (discussing the services provided by Pro-
tection and Indemnity Clubs).

9. British P & I Clubs insure approxi-
mately 65 percent of the world’s shipping
fleet. See Coughlin, supra at 404.

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for delay in loading or unloading of cargo; and (c) defense—legal aC
expenses that may not be covered in Protection and Indemnity insur- w
ance. Special insurance is available for insurance of war risks and cc
insurance of losses caused to shipowners by strikes of their crews or ri
stevedores. Clubs may also insure against the special risks inherent in pe
container transportation, the loss and damage to the containers and sc
associated equipment, such as cranes, as well as liabilities to third m
parties. Forwarding agents and terminal operators may obtain cover as cc
well as shipowners and charterers.'° se
Cover for Additional Assureds §

In some trades, particularly in offshore drilling, it is customary to
name other parties as additional assureds on a vessel’s P & I policy,

m
defining other parties in such an endorsement as “anyone for whom the ca
vessel is working.” In such cases coverage is extended to the additional wi
assured only if there is a causal operational relationship between the in
vessel and the resulting injury to a third party.'' The additional assured pr
may not claim an indemnity under the policy for an injury to a third fo)
party that arises independently of the vessel’s operations. su

2 2s 2 2 vo
Other Liability Policies
An employer may have a general civil liability policy and a separate ho
Workmen’s Compensation and Employer’s Liability (WC/EL) policy in
10. Id. at 404-05. Guaranty Co. v. Williams, 676 F.Supp. 123,
11. E.g., Clement v. Marathon Oil Co., 1988 AMC 2006 (E.D.La.1987), Stockstill Vv.
. Petty Ray Geophysical, 888 F.2d 1493, 1990
724 F.Supp. 431 (E.D.La.1989); Clark v. B 4
‘ AMC 2957 (5th Cir.1989). Additional as-
& D Inspection Serv., 896 F.2d 105, 1990 ed be add hull poli
AMC 2110 (5th Cir.1990). sured coverage can be added to a hull policy
. . as well as P & I insurance. E.g., Employers
A provision of aP & T policy covering Ins. of Wausau v. Trotter Towing Corp.,
the assureds as “owners” will be interpret- 34 F.2d 1206 (5th Cir.1988), rehearing de-
ed to cover a charterer as an additional pied 841 F.2d 633 (5th Cir.1988).
ed.
assur . 12. See Gryar v. Odeco, Inc., 719 F.2d
Coverage for “loss of life ... of any 112, 1986 AMC 1359 (5th Cir.1983) (per
person” included coverage for a possible curiam); Lanasse v. Travelers Ins. Co., 450 FS:
punitive damages award. Randall v. Chev- oq 580, 1972 AMC 818 (5th Cir.1971).
ron U.S.A. Inc., 13 F.3d 888, 1994 AMC gee also St. Paul Fire & Marine Ins. Co. v. FX
1217 (5th Cir.1994), modified 22 F.3d 568, Vest Transportation Co., Inc., 666 F.2d 932, .
1994 AMC 2492 (5th Cir.1994). 943 (5th Cir.1982); and Wiley v. Offshore ers’
Insureds can be covered by more than Painting Contractors, Inc., 711 F.2d 602, poli
one P & I policy; if so, rules of priority of 1984 AMC 1144 (5th Cir.1983), modified is tl
the policies determine coverage. Institute and rehearing denied 716 F.2d 256, 1984 whi.
for Shipboard Education v. Cigna World- AMC 1144 (5th Cir.1983). Cus
rade Ins. Co., 22 F.3d 414, 1994 AMC 1775 Under what is frequently referred to as insu
(2d Cir.1994). _ the Lanasse rule, the courts allow coverage ance
There is a difference of opinion whether to an additional assured only when it can teri
an agreement to procure additional assured show it was acting in a vessel owner or Sinc
coverage is a maritime contract. Compare charterer capacity and a causal relationship mar
Ullinois Constructors Corp. v. Morency & between the insured vessel and the result- requ
Assoc., 794 F.Supp. 841, 1993 AMC 203 ing injury. For a thorough analysis, see Cast
(N.D.II1.1992); Angelina Casualty Company Robert T. Lemon II, The Lanasse Rule and (La.

v. Exxon Corp., 876 F.2d 40, 1989 AMC
2677 (Sth Cir.1989). State law applies to
such a contract. United States Fidelity &

the Additional Assured’s Dilemma Under
American Form P & I Policies, 21 J.Mar.L.
& Com. 503 (1990).

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addition to P & I insurance. In this case it is important to consider
whether the various policies adequately cover the possible risks. Many
comprehensive general liability policies contain watercraft and maritime
risk exclusions.*_ P & I policies may exclude liability under any Com-
pensation Act. Under a WC/EL policy a compensation insurer will cover
scheduled or limited benefits provided by a compensation statute, but
may exclude tort damages under 33 U.S.C. § 905(b). Moreover, a
compensation insurer can recover its payments out of the proceeds of a
section 905(b) settlement or judgment. '*

§ 19-13. Insurable Interest

In order to recover on a policy of marine insurance, the assured
must show (1) that he has suffered a financial loss; (2) that the loss was
caused by a peril insured against; (3) that the subject matter of the loss
was covered by the policy; and (4) that the assured had an “insurable
interest,” some legal or equitable relationship to the voyage or insured
property. Therefore, an insurable interest is a necessary precondition
for a valid contract of insurance. If the insured has no interest, he can
suffer no loss; the contract is deemed to be a wagering contract and is
void. The insurable interest must be held at the time of the loss.!

The term “insurable interest’ has never been exhaustively defined,
however. The English Marine Insurance Act 1906 specifies that:

(1) Subject to the provisions of this Act, every person has an
insurable interest who is interested in a marine adventure.

(2) In particular a person is interested in a marine adventure
where he stands in any legal or equitable relation to the adventure
or to any insurable property at risk therein, in consequence of which
he may benefit by the safety or due arrival of insurable property, or
may be prejudiced by its loss, or by damage thereto, or by the
detention thereof, or may incur liability in respect thereof?

13. See Pepper  v.
F.Supp. 48 (E.D.La.1989).

Plaisance, 732 Delaware Ins. Co., 11 F.Cas. 683 (C.C.D.Pa.

1809) (No. 6,150); Chase v. Hammond

14. Eg, Taylor v. Bunge Corp., 845
F.2d 1323, 1988 AMC 2610 (5th Cir.1988).

Under Louisiana law, a standard work-
ers’ compensation and employer's liability
policy is not ‘‘ocean marine insurance” and
is therefore covered under La.R.S. 22:1375
which created the Louisiana Insurance
Guaranty Association (LIGA), which covers
insurance claims against insolvent insur-
ance companies. Deshotels v. SHRM Ca-
tering Servs. 538 So.2d 988 (La.1989).
Since LIGA excludes coverage for ‘ocean
marine insurance” P & I claims are not
required to be paid. Backhus v. Transit
Casualty Co., 549 So.2d 283, 1990 AMC 417
(La.1989).

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1. Hooper v. Robinson, 98 U.S. (8 Otto)
528, 25 L.Ed. 219 (1878). See also Hart v.

Lumber Co., 79 F.2d 716 (9th Cir.1935) and
Fuerst Day v. Orion Ins. Co., [1980] 1
Lloyd’s Rep. 656. For a comprehensive
study on the concept of “insurable interest”’
in relation to all forms of insurance, see
Harnett & Thorton, Insurable Interest in
Property: A Socio-Economic Reevaluation
of a Legal Concept, 48 Colum.L.Rev. 1162
(1948).

For a recent case holding that the in-
sured lacked an insurable interest, see El
Fenix de Puerto Rico v. Serrano Gutierrez,
786 F.Supp. 1065, 1992 AMC 486 (D.P.R.
1991).

2. British Marine Insurance Act 1906,
§ 5(1) and (2). Gilmore & Black conclude
that these provisions establish two concur-
rent tests to determine if an ‘insurable

